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U.S. COURTS

APR 14 202

Revd Fited. Time.

STEPHEN W. KENYON
HOUSING DISCRIMINATION CLAIMS CLERK, DISTRIGT OF IDAHO

Defendants; Thomas Logan Apartment’s Owners, Architects, The Housing Company’s Assets
Managers, Eight Regional Managers, On-Site Managers, ADA Compliance Officer, Any and All
Employees Associated with Discrimination in This Compliant, Any and All Third-Party
Participants Who Knew and had the Power but did not Intervene: Idaho Human Rights

Commission, HUD, Intermountain Fair Housing Commission, tdaho Legal Aid

1, JURISDICTION

in December 2022, Marlor contacted the Intermountain Fair Housing Council for assistance and
after a lengthy discussion of discriminatory events and a request for the application the call
ended, The next day he received a call and the specialist informed Marlor that she had spoken
to IFHC’s legal team and determined that his case was “consumer bases” and that they would be
closing his compliant. Shortly after the phone call Marlor received an email stating, “You stated
your housing provider denied you housing because of your criminal background.” She referred
him to the Attorney General, and stated his issues were consumer based, and then referred him
to the Volunteer Lawyer Program, and she reminded him he had said he had their contact

information.

In January 2023, Martor fiied a complaint with Housing and Urban Development (HUD) and after
waiting several months and no return calls or emails, he called and left several messages and
eventually he received calls back. Marlor talked to the specialist, and he said he would reopen
the case and that they needed to conduct an intake interview. The next day the specialist’s co-
worker called and after checking she informed him his case was not open, The specialist called
again and asked him if he wanted his case opened and multiple times Marlor inquired, why his
case remained closed and the specialist stated, “Do you want me to open it or not.” Marlor’s
issues with the specialist resonated with him not reopening his case and further deteriorated

while trying to communicate THC’s long-ongoing discrimination and staying within HUD’s

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parameters of one year; the ongoing discrimination originated well beyond the timeline. When
giving the specialist a chronological timeline that eventually passed a year, the specialist was
adamant about not allowing Marlor to continue to the onset of discrimination. Marlor asked for
his supervisor’s contact information, and he gave him his name and stated that it was public

information, and Marlor ended the phone call.

In January 2024, THC notified Marlor that he made too much money for the accessible
apartment and that they were unable to accommodate him and again denied another transfer
request, This denial motivated Marlor to reach out to HUD for assistance again, and contacted
the specialist, and was able to obtain the supervisor’s contact information. The specialist that
Marlor had such a tough time dealing with no longer worked for HUD. Without supplying any
documentation about the communication between THC and Marlor, and without any follow up
questions to his detailed timeline of events, he received an email stating no action was going to
be taken and the reasons why. The last conversation Marlor had with the supervisor was a
precursor to HUD’s denial for assistance when he stated, “If they make everyone in the

apartment complex do it, then it’s not discrimination.”

March 28, 2024, Marlor filled out a questionnaire with Idaho Human Rights Commission to start
a complaint against The Housing Company. On August 28, 2024, Marlor received the Certificate
of Service by email, and it stated, “Based upon the evidence submitted, we find no probable
cause to believe that unlawful disability discrimination has been established. Therefore,
pursuant to the Rules of the Idaho Human Rights Commission, this case is dismissed.” During
this time Marlor contacted Idaho Legal Aid and after going through their financial questionnaire,
he was told he qualified, and he had an interview phone call with a lawyer. The lawyer assured
Marlor he would get with another lawyer that knew more about housing and contact THC and
try to help resolve his issues. Marlor communicated that no legal action could be filed while he
has a complaint with the Idaho Human Rights Commission. The lawyer informed Marlor that
they do not file lawsuits, that they would contact Logan Apartments to resolve the matter. A
week passed and he received an email stating that there was no funding and that they were not

going to be able to help.

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FACTS OF THIS CASE:

Statements of Discrimination:

Marlor was subjected to discrimination based on his disabilities (paralysis, rheumatoid arthritis,
long COVID-19) when The Housing Company, {“THC”} denied fair and equal access to federally
funded, wheelchair-accessible housing by not giving him an opportunity to dispute charges
found In his background check before adverse action was taken, Marlor received a letter
informing him he had been denied housing. The onsite manager gave him enough information
that she could have called the county and reversed the denial, but he received the disposition of
the case and supplied it to THC. After Marlor supplies the date, and for no logical reason
including change of income or household composition, they recertified him and subsequently
qualified him for unit 506, a non-accessible studio apartment at $620 a month. His original
certification qualified him for unit 504 at $520, an accessible one-bedroom, fitted with grab bars
by the toilet and shower, and the washer dryer were side by side and stationed in a separate
room from the bathroom. THC recertified Marlor without any changes in income or family

composition, and they placed him on a waiting list even though their application states:

CHANGES IN INCOME OR FAMILY COMPOSITION FOR WAITING LIST APPLICANTS: If an
Applicant’s income changes to an amount which is no longer eligible under the
limitations of the assistance program by the time the application reaches the top of the
waiting list, written notice will be given advising the Applicant that: (1) they are not
presently eligible; (2} the Applicant could become eligible if the household income
decreases, the number of household members changes, or the Income Limit changes,
and {3) asks whether or not the Applicant wishes to remain on the waiting list.

Marlor sent the onsite manager an appeal and noting its importance she forwarded it to the
regional manager. He answered Martor’s appeal and gave a conflicting 35-year-old case for the
reason of the denial. His appeal was not considered because the on-site manager and regional
manager would have recognized that the documentation with a case without an associated

date, was still needed and never supplied to THC. Further complicating THC’s recertification that

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places Marlor on a waiting list for a one-bedroom, is that the Logan apartment building was not
completed until February 2022. Until April 28, 2022, no one lived in unit 504 and is considered
“Empty”, by Idaho Finance Association. When an apartment is considered “Empty,” then it has
no associated program attached to it and awaits a qualifying Applicant’s certification and move-
in. Regardless of the denial of housing and recertification, THC’s application states, Applicants
with a household member with a disability are given priority and moved to the top of the
waiting list, and this alone would have moved Marlor to the top of the list. Even if Marlor’s
disability did not move him to the top of the list, when he requested a transfer to 504 in July of
2022, Miller denied him, rented it out to someone else, and then held onto his request and did

not upload it until October,

THC contends that, “Logan is a Low-Income Tax Credit {“LIHTC”) property developed pursuant to
26 U.S.C. § 42. As such, it has complex regulatory requirements in relation to rental rates, unit
availability, and income.” The THC also take this position, “...eligibility is based on income
limitations required under an applicable LIHTC set-aside test.” Then go on to say there are
limitations on what Marlor’s income can exceed in relation to the relevant Area Median Income
(“AMI”). THC finishes with, “The set-aside test Logan uses is irrevocable and was determined
pursuant to federal law at the beginning of the project. See U.S.C. § 42(g)(1).” This dismisses
THC’s reason of Marlor’s recertification and makes it apparent why they performed a new
certification; it is performed at the beginning and “irrevocabie” once determined. THC did not
want Marlor to live at Thomas Logan and once he supplied the disposition of the case they
alleged had a missing date; they retaliated and took the opportunity to recertify him and give
him a non-accessible studio apartment at $620, once determined, it is irrevocable. However, in
Marlor’s case, they contradict their statement and recertified him. THC purposely created a
scenario that charged him more in rent for a non-accessible studio apartment and a new set-
aside test that is irrevocable and relevant AMI, conveniently places him in 50% to 60% range and
gives THC the ability to deny him future transfers. Conveniently, this was not brought up until he
was denied the transfer into an available, fully accessible unit; November-December 2023. Even

then, he was only told he made too much money. .

THC also contends that they are not required to have a system in place that allows visitors to

contact the Logan residence, When they implemented a key-card-entry system to the building in

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March 2022, it makes the route inaccessible, and therefore discriminatory by HUD’s regulations;
there must be an accessible route into the building for someone that is disabled. Nevertheless,
THC fails to grant Marlor reasonable accommodation for an accessible one-bedroom and a
solution to the current inaccessible entry into the building for him and his visitors. THC’s
discriminative tactics are found in both their actions and nonactions and resonated in
September 2021, when during the application process Marlor’s application was denied. Marlor
continues to live in a non-accessible studio apartment even though he has communicated to six
regional managers, three onsite managers, an assets manager, and sought help from numerous
disabilities advocating rights agencies; yet his tiving conditions have been and continue to be

hazardous: up to the filing of this complaint.

THE PARTICULARS ARE:

In support of these statements, Marlor offers the following.

1.

Marlor uses a wheelchair because his disability stems from partial paralysis of his legs and
rheumatoid arthritis. He also contracted long COVID-19 in 2020, which has significantly affected
and continues to affect his cognition. Marlor’s inability to articulate THC’s strategically
implemented and knowledgeable based discrimination is due to Long COVID-19’s brain fog and
other negative cognitive Long COVID symptoms, that he stiil suffers from today.

The Act defines “handicap” as a physical or mental impairment which substantially

limits one or more of such person's major life activities, a record of having such an

impairment, or being regarded as having such an impairment. 42 U.S.C. § 3602(h); 24

C.F.R. § 100.201

The Housing Company produced a legal document that is discriminatory, an application for
housing that states, “PROCESSING STEPS” that “Applicants... ..who have a criminal background
will be notified that they have been removed from the waiting list.” Their administrative policy is
discriminatory because adverse action is taken before an Applicant is given an opportunity to
dispute criminal records that deem him ineligible. THC’s policy for when the background check
finds issues in someone’s financial credit check states, “in the event of decline based upon

credit, the Applicant has 14 days to provide an explanation and request further consideration.”

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He applied for an apartment at Logan in September of 2021. Off his application and first
interview, his certification qualified him for an accessible one-bedroom apartment and at a
minimum, units 504 and 509 were available for $520 per month when he moved in; 504 had
accessible grab bars by the toilet and in the shower, and the washer and dryer were placed side
by side and in a separate room from the bathroom.

However, THC denied Marlor housing because, allegedly, he did not pass the background check
because, onsite Manager Renee Miller (“Miller”), said “Case #1-4386 out of Madison County, for
possession of controlled substance” had no date associated with it.

Marior believes that Miller could have easily called Madison County and received the
information that denied him federally funded housing. Marlor researched iCourt and took a
snapshot of the only possession case out of Madison County and sent the 20-year-old case to
Miller. Miller then informed Marlor to be in compliance, she needed the disposition from the
courts to put in his file. Marlor did not have any outstanding or recent charges, and he has never
been charged with violent criminal or sexual offense. For this reason, he believes management
failed to process his application equally, fairly, and in manner because of his disabilities.

THC’s denial letter stated he had fourteen days to appeal the decision, and 27 days had passed
before they received the original documentation from the courts and his application status was
reversed. However, THC alleges, by the time management approved his application as a tenant,
more qualified applicants had moved above him on the list for housing. For this reason, Miller
told him his original certification qualifying him for a one-bedroom, unit 504, for $520 per
month was not valid; upon recertification he now qualified for a studio apartment, unit 506, for
$620 per month.

On December 28, 2021, he appealed to their application process because he felt he was unfairly
denied an equal chance to rent, unit 504, for $520 a month, an accessible unit. He sent the
appeal to Miller, and she forwarded it to the Regional Manager Phillip Sylvester (“Sylvester”),
Sylvester answered Marlor’s appeal and gave a conflicting 35-year-old case, for the reason of
denial. However, as with Miller, Sylvester could have easily determined the date of the charge
and reinstated his original qualifying certification for unit 504; or at the very least, followed their
application policy and allowed him priority on the Logan list because of his disability. Marlor
questions the application list due to the number of applicants at the time he was put back on
the list, November 1, 2021; the building was not completed, and he did not move in until

February 16, 2022.

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He believes Sylvester and Miller gave misinformation and discriminated against him because
unit 504 was accessible with grab bars by the toilet and shower, the washer and dryer were side
by side and located in a separate room, and he was told he would be placed on a waiting list and
unit 504 was available until April 28, 2022. Idaho Finance Association states that an apartment
that has never been lived in is considered “Empty,” until a qualifying Applicant moves In, and the
unit then attaches the Applicant’s qualifying program.

When he completed the housing application, he failed to fill out the “Voluntary Information”
section to disclose his disability. He believes this to be a conscious decision and was made to
discuss options with available units and their accessibility. He also believes this is a formality and
would have had to be rectified before the application process even started, prior to his first
certification. Further, he was wheelchair-bound on each occasion that the management and he
met, while processing his application to obtain housing. It was clear that he required an
accessible apartment.

Even though he attended all meetings with the management in his wheelchair, management
recertified him for a non-accessible studio apartment in November of 2001, and on February 16,
2022, he moved into and has resided in a non-accessible studio apartment. When he moved into
the studic apartment in his wheelchair, Miller informed him that it would be approximately one
year before he would have the chance to move into a one-bedroom, accessible apartment.

in July of 2022, his neighbor moved out of the accessibie unit 504, However, Miller informed
him the cost of the unit was going to be adjusted to the current studio rate of unit 506 at $620
per month; rent would be $739, He asked for original qualifying documents that certified him
for a one-bedroom at $520 per month, but Miller said, “...tell you right now they're not going to
give you the one bedroom for $520 the remember f told you the one bedroom is now 739 and
you would have to see if your income qualify for that amount And not even sure if they're gonna
leave and let anybody transfer from a studio to the one bedroom” Even at the higher price
Marlor continued with the transfer to an accessible one-bedroom unit, 504,

When he tried to turn in the transfer request, Miller told him that someone else was already
interested in the apartment, and she rented it out. He later found out that even though he had
completed the transfer request form in July of 2022, Miller failed to upload it into the system
until October of 2022; therefore, shielding his request from management and nullifying any
waiting list he was on. Further, he spoke to his neighbor right before he left and asked him when

he applied for 504, he said April 25"" and was accepted the 28", Meaning, there was no waiting

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list and therefore no applicants moved above him; the recertification was only utilized to take
away his original qualifying one-bedroom and charge more money for a non-accessible studio
apartment. Once an Applicant certifies, the qualifying amount only increases and or adjusted
when rent is raised. Meaning, when THC discarded his original certification and recertified him,
they illegally discriminated against him by instituting a non-accessible apartment at a higher
cost; ultimately, taking away an accessible one-bedroom and charging more for a non-accessible
studio.

He filed a complaint with the Intermountain Fair Housing Council on December 15, 2022, and he
was referred to the State Attorney General’s Office and Volunteer Lawyers of Idaho. His
complaint was dismissed without declaring a substantial amount of THC’s discrimination. The
specialist did not investigate and focused on whether he was denied housing because his
background check found a charge without a date associated with it. However, the fact that there
were contradicting cases, and he had appealed the application process, and his appeal was not
considered by the onsite and regional managers, should have been enough for an investigation.
Further, the fact that he was put on a list that did not exist, and THC cannot say that there was
Ao apartment available when there was in fact a minimal of two available apartments. He
received an emali stating that they would not be taking on his case and Marior could not
communicate all the issues or provide proof of THC ongoing discrimination; including his
attempts to communicate, Logan apartments do not have an accessible route. include in
Intermountain Fair Housing Council’s denial email is their mission statement and because the
specialist informed him that his case was “consumer based” and referred him to the State
Attorney General; he replied, “this case is exactly what you guy handle.”

Shortly after moving in on February 15, 2022, THC implemented a key card entry that requires
all visitors to call and jet a resident know when they arrived and need in. Further, for a visitor to
gain access to the building, it requires Marlor to physically go to let them in; if Marlor is unable
to go let a visitor in, another resident fets them [n, or they are not allowed to visit. Not only does
this require a visitor to have the residence’s phone number, but it also requires both the
residents and visitors to have charged and functional phones. If these parameters are not met,
the guest has no way to contact a resident. This is discriminatory for both the visitors and
residents. .

HUD’s regulations require an accessibie route to include a doorbell outside the main entrance

for a visitor to alert the residents. This system of design at Logan makes his home much more

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non-accessible for his guests and himself. Marlor contacted onsite managers, regional
managers, and the asset manager, and communicated that the front door and the locking
system are barriers, but management ignores his complaints. No changes or requests for
accommodation have been made In consideration of his disabilities.

The front door is locked from 5:00pm te 8:00am on weekdays and all weekend. This is an
additional accessibility issue for Marlor. If he loses his keycard, he might be locked cut for a long
period of time. If he was ina different housing situation, he would be able to call a locksmith
and have a key made. Not at Logan, that is, if he was just locked out of his apartment, then he
could hire a locksmith to make a key. He has requested a solution to this problem, but THC
ignores his requests for reasonable accormmodation for both a transfer to an accessible one-
bedroom and a solution to the key card entry into the bullding.

Lucey residence and Logan’s managers have access to an application that remotely unlocks the
doors and gives their guests access to the buildings. The architect personally informed Marlor
that both buildings were designed to utilize an application, but on-site managers have
communicated each resident that utilizes the application is charged and the owner of the
building will not pay for the additional costs for Logan’s residences.

In November of 2022, Marlor sent an email to the regional manager but after getting no
response he called THC’s front office and she said Logan had a new regional manager, the
previous one had accepted another position within the company. After leaving Kim [LNU] a
message she called him and requested ail the text and email communication he had with the
onsite and regional managers and offered to work with him and allow him to transfer to an
accessible one-bedroom; Adam was asked to pull his file and the three of them would get
together. Adam communicated there were several issues with his application and in fact, there
were several issues with a lot of the residences’ applications. When the first of the month came,
Adam would tell Marlor that the transfer would happen, but it would have to wait until the first
of the month, and then the first would come, and he would get told the same thing, the first of
the month.

Marlor had a couple incidence with Adam and visitors. The elevator was being tiled and Marlor
had a visitor and her phone was dead. The stairs are key card access only and when Adam asked
for the residences number to call, she could not give it to nim. Knowing that his visitor was late
he had another friend go down to the floor entrance where they were confronted by Adam, and

they explained that Marlor was disabled and unable to use the elevator or stairs. By the time his

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guest made it to his apartment, Adam was on the phone apologizing for not allowing his visitor
to use the stairs. The next time Marlor was waiting for a guest and another resident knocked at
his door and informed him that his guest was waiting to be let in the front door. Another guest
went to let the visitor In and a few minutes later Adam knocked at the door and was visibly mad
and started explaining that the residence just wanted to feel safe in the building. Marlor agreed
and Adam continued that we had just got rid of the problem tenants and again sald that the
residence just wanted to feel safe in the building. Marlor was confused and again agreed with
him and then stated he was not sure what issues he was talking about and informed Adam that
he rarely left his apartment and did not know about the ongoing issues. Adam then said that
there were no problems with him, that he was working on getting him into the one-bedroom
and noticed he had calmed down from the state he was in when he arrived. The last incident is
when Adam knocked at Marlor’s door and after letting him in Adam asked if he knew a
gentleman named Jay and he was friends with him. Marlor explained that he had met him but
they were not friends and that he knew he lived on the fourth floor, Adam then informed him
that one of his guests was in an unauthorized area and wanted to know where his guest was at.
Marlor said he would talk to her and find out what was going on. After talking to his friend, he
saw Adam out in the walk-way and explained that Jay had called his friend and had her go to his
apartment to check on his mom and take her a roli of toilet paper. Adam then stated Jay did not
live in the building and the cops had been called and were Jooking for him and that if he had any
more issues, he was going to have to evict him. Marlor then informed Adam that there had not
been any issues and that he did not know the guy except talking to him outside and that he was
doing to have to start writing him up because he has had no issues; Adam stated, “Guilt by
association.” Marlor told Adam he could talk ta him because he was right there, and he went
inside the building. Marlor noticed the entrance to the building was unlocked that weekend and
sent Adam an email asking that a couple of days of video be preserved and about the place
being unlocked and the residence being safe; Marlor found out Adam had left in the middle of
the night a few days prior.

THC’s management kept changing and Adam left in the middle of the night, before he could
complete Marlor’s transfer to a one-bedroom. Adam’s last memo stated, “Access to the building
will be 24/7 key card access only.” The memo prompted Marlor to call Kim and when she did not
answer, he asked for any available regional manager and spoke to Logan’s next regional

manager, Mindy. She stated that she would talk with Kim and keep him informed. He spoke to

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Mindy one more time and she said that she was busy with a project and would read his emails
and return his call on Friday, he never spoke to her again. However, Dean informed him that
Mindy had approved the transfer.

Roseanna Dean (“Dean”) became his new onsite manager in April of 2023. Marlor informed her
about access to the building and the decor being a barrier; visitors not being able to contact the
residence is discriminatory against both the visitor and resident. He asked her to research the
door issues and even sent her ADA regulations showing there must be a way for visitors to
contact residents via a doorbell outside the main entrance, that allows the visitors to alert the
residents, When Marlor informed her that access to the building was a barrier, she stated,
“According to you.”

In July of 2023, Dean informed him that he was number five on the list to move into a one-
bedroom with accessible grab bars; Mindy had approved the transfer. Dean eventually offered
him a one-bedroom, 504, and informed him that rent would be $879 per month. At first, he
agreed to this, but he later decided it was too expensive; especially when he was certified for
the one-bedroom, 504, at $520 — plus at that time there would have been a $20 rent increase
and would be considered a reasonable accommodation. He turned down the opportunity
because he thought at the most, he should transfer at the current rent rate. They were not
transferring him from a studio to an accessible one-bedroom because of reasonable
accommodation.

Less than one month later, he found out a fully accessible apartment was becoming available,
407, and Dean told him he could have it after repairs were complete. Dean finally emailed him
back about this apartment on November 28, 2023, to ask if he was still interested In
transferring. He replied, “Yes, I’ve been waiting almost two years.” but he did not hear back
from her.

He emailed Regional Managers Sylvester, Erika Zappa, Kim [LNU], and Mindy [LNU] about his
ongoing discrimination and that the onset was when he was denied housing. He communicated
that he was originally certified for a one-bedroom but because of case without an associated
date he was denied housing and was recertified for a non-accessible studio, but he never
received a response. Marlor believes these tactics are utilized by THCs’ regional managers
because if they do not acknowledge his discrimination or requests for reasonable
accommodation, then he would seek help and would be denied because the use of an

applicant’s criminal history for denial, is not considered discrimination.

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When Marlor seeks help from disability advocating rights agencies they shield THC and owners
from being held accountable. it is obvious Marlor lives and has lived in a non-accessible unit but
cannot get an agency to understand that his housing situation is hazardous and has caused
injuries; he struggles every day to live in an apartment he should have never been placed in.
The idaho Finance Association and HUD created THC and Marior feels this has created
relationship between the three agencies and shows bias and alienates him from seeking resolve.
Further, it gives THC a predisposed disposition that they do not have to fcllow federal and state
regulations, statues, and or laws and do not have to adhere to HUD’s administrative regulations.
Logan is tax-credit based, and THC did not have to receive HUD’s certification like a Public
Housing Authority complex; however, in HUD’s handbook it is highly suggested they know and
follow all regulations and laws because they can be held civilly liable for discrimination.

After leaving several messages with the Assets Manager Jennifer Rogers, she called him back
and she offered him a one-bedroom unit for $600 per month. Mindy and Miler had plans to
meet, and not wanting to cause friction between managers, he Informed Jennifer of the planned
meeting and asked that the three of them come to some kind of consensus.

He cannot use the stacked washer and dryer that are located behind the door in the bathroom;
the circumference makes them inaccessible. The hall, fridge, and the layout of the bathroom do
not meet the strict measurements set by HUD’s regulations, and the tollet and bathtub do not
have grab bars.

After falling multiple times while attempting to use the shower chair and toilet, Marlor resorted
to only taking birdbaths. It was too dangerous to try to shower where there are no grab bars,
and it is not set up for someone in a wheelchair. After one of the fails, he spent a night on the
floor and his phone was dead. Maintenance came to check the fire alarms and retrieved his
charger for him but shortly after they left, he noticed his phone was not charging. Pain from his
arthritis had subsided enough that he was eventually able to use his wheelchair and the toilet to
get back into his wheelchair. Another incident when he failed to transfer, he ended up dragging
his wheelchair from the bathroom across his apartment to his studio bedroom and got up into
his wheelchair after getting up onto the couch. Another fall, 911, was utilized and the first
responders were able to assist him back into his wheelchair. Marlor has since gone to a bench
and is able to somewhat utilize the bathtub without any more falls.

In mid-December, Dean asked Marlor what day he wanted to sign the lease. He replied, “As

soon as possible,” but again, he did not hear back from her, Then toward the end of December,

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Dean informed him that he made too much money to qualify for the lease he planned to sign.
She added, Thomas Logan would continue working on it.

He did not pay his rent in December of 2023 and stated that he would pay rent as soon as the
transfer was completed, All he needed was to have the money transferred Into his account, and
in fact in January of 2024, he paid $1000, and that amount should have covered January 2024
and half of what he was behind from October 2023. Marlor received an email that he would not
be able to transfer to the open accessible unit, he made too much money. He informed Dean he
would not be paying rent and that a judge could hear about the hazardous living conditions and
injuries that he has endured. in the end of 2024, he was served notice of eviction court and he
went and paid $2,500 on his rent. Dean had requested him to come to the office and talk about
his unpaid balance but because of health issues and her leaving early every day, they had issues
meeting up. Finally, he was able to sign the recertification paperwork and informed Dean that
he would be catching up on rent. The day after receiving the summons to eviction court, an
advocating homeless agency called, and when Marlor informed the gentleman why he had not
been paying rent and wanted to go before a judge, he was informed that by law, the only reason
a tenant can justify not paying rent, is cost to replace fire detectors. Marlor went and paid
$2,560 on back rent but because of late fees he was still $1,800 short and never brought up the
discrimination and hazardous living conditions to the judge; he went and filed this lawsuit,

He had asked for reasonable accommodation to be transferred from three different on-site
managers, six regional managers; and their boss, the assets manager, and he still resides ina
non-accessible studio apartment. THC purposely denied him federally assisted housing, and
purposely said the cause was due to the results of Marlor’s background check, They knew the
results of an Applicant’s background check as a reason to deny an Applicant housing is not
considered discrimination.

Marlor also has issues when the building loses power, the only elevator stops working and he
has no access to leave the 5" floor, Marlor is suspicious how the Thomas Logan building passed
Boise City’s inspection. The elevator does not work when the power goes out and the generator
supplying power to both sister buiidings could be an issue; nevertheless, the only elevator is not
working when the power and continues not to work for a considerable amount of time after
power is restored and discriminates against Marlor’s disability.

There fs a handicap accessible parking spot behind Lucey apartments and his friend received a

ticket from a private enforcement parking company, even though Marlor’s placard was properly

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415 placed on the rearview mirror. Marlor was successful in having the ticket dismissed but not

416 because of federal Public Law 101-336, Americans with Disabilities act of 1990; it was dismissed
417 due to no other tickets being issued on the car’s license plate. The law allows anyone who has a
418 disability and is displaying a disability placard or license plate to park in any public, assessable,
419 and designated handicap spot. Marlor tried to explain the statute, but she insisted that the car
420 needs to display a Lucey sticker, and required placard or license plate, to be parked in that

421 handicap spot. This is just another example of the owner of the building discriminating against
422 people with disabilities. If a person is disabled and displays a lawful handicap placard or license
423 plate, but does not have sticker for the Lucey apartments, they can receive a ticket and risk
424 being towed,

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427 THIRD PARTY

428 Enablers and Ongoing Discrimination:

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430 In January 2024 HUD reopened Marlor’s complaint and after having a brief overview with the
431 supervisor, he was under the impression he would finally get some help. He had a lengthy phone
432 call with the intake specialist and emailed several] pages that detailed THC discrimination from
433 September 2021 to January 2024, HUD is responsible for a long list of duties but one of them is
434 to evaluate complaints for discrimination and once a valid complaint is found, HUD uses their
435 resources to correct discrimination, to discourage future discrimination, and to give the

436 complainant relief for the injuries. For the specialist to fully understand how THC is

437 systematically and continually discriminating against Marlor, she would first have to recognize
438 that he was denied housing, not because of his background check, but because THC did not
439 want him in the Logan. However, the specialist would not go to the origins of his discrimination,
440 so she was unable to recognize its onset, that it is ongoing, and that there are numerous and
441 separate, distinct violations.

442

443 Marlor believes the relationship between advocating rights agencies and THC, was formulated
444 when HUD and Idaho Finance Association created THC and has evolved into an unhealthy

445 management company; the reason why HUD, Intermountain Fair Housing Council, Idaho Legal
446 Aid, and Idaho Human Rights Commission are biased, and will not follow through with Marior’s

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complaints of discrimination. tt is implausible to conclude, when it disregards the fact that
Marlor has been living, ts living, ina non-accessible studio apartment; that does not equate to
discrimination. Especially, when he has communication between all the on-site and regional
managers, and assets managers that ignore his ongoing hazardous living conditions and their

inability to grant him reasonable accommodation.

Not only did THC have in place a written policy that discriminated against Marlor by not allowing
him to contest an alleged charge found in his background check before adverse action is taken,
but they also fabricated the reason that gave them grounds to deny him housing. Further, they
have Applicants sign a paper that released all of THC’s agents from liability when they utilize
information from a background check. Marlor believes that THC strategically and purposely
fabricated a case without an associated date and then when Marlor dic not find housing
elsewhere they retaliated and recertified him. As THC’s agents knew that Marlor would not be
finding help because they used his background check to deny him housing and it cannot be the
basis for discrimination. From the time THC’s agents recertified him and gave him less for more,
their acts of discrimination were committed without reprieve and were blatant; their

connections and relationships backed thern.

THC manages over 50 property complexes and are experienced and knowledgeable in all
aspects, including keeping Marlor paying more for less and in addition, renting out his qualifying
one-bedroom. HUD and Idaho Finance Association established THC and Marlor believes this
relationship allows them to employ the tactics utilized to deny him housing and then recertify
him and qualify him with a new base rent amount that gives them ability to deny him transfers
because of his income. In short, it allows them to operate and seem to be Incompliance while
discriminating against Marior. It takes a knowledgeable and experienced company to circumvent
applicabie governing laws and regulations while maintaining a persona they are complying;
especially when facing complaints of discrimination. THC denied Marlor housing and established
a new qualifying, Irreversible base rent, for a non-accessible studio apartment. Then at every
opportunity they stalled, denied, changed management, ignored, did not honor waiting lists, or
fulfill approved transfers; and when he sought help through advocating disability agencies,
THC’s long and established relationships prevailed. Marlor tried HUD, Intermountain Fair

Housing Commission, ldaho Legal Ald, ACLU, and other disability rights advocating agencies in

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holding THC accountable; they found no discrimination by THC and denied representing him.

HUD's reason for not taking further action was based on these factors:

a. The alleged discrimination based on disability is non-jurisdictional because you did not
articulate that the housing provider denied the one-bedroom apartment for $520 and
rented the studio for $620 a month because of your protected class, disability. Even if
you would state that the denial to rent by the housing provider was due to the
protected class. More than one year from the date of the alleged violations has elapsed
and this office cannot take any action on your allegations.

b. You stated that you did not submit reasonable accommodation for a handicap unit due
to your disability.

c. Since you did not request reasonable accommodation for an exception to the property
management's new policy for access of the building due to your disability, the alleged
discrimination based on disability is non-jurisdictional because the new policy applied to
all residents in the buiiding.

d. Since the property where you reside is not federally funded and not a public entity, HUD
cannot enforce ADA,

THC’s application depicts a knowledgeable and experienced company in the management of
properties. Currently THC manages over 50 properties and processes and certifies hundreds of
applicants each year and their experience manifests while processing Marlor’s application; however,
their intentions were not in Marlor’s best interests. From the onset THC’s managers cleared a path
for housing but the path ied to any housing but the Logan; they denied him. For THC to deny Marlor
housing and then take the position his background check found a case without an asscciated date,
at first, seemed plausible. However, when one takes their history, experience, knowledge, and start
analyzing the information they possessed when they denied Marlor, their story and or proffered
reason to deny him housing does not add up. The procedures and policies found in THC’s application
were not followed while processing Marlor’s application. He was not treated equally or fairly, and
THC’s managers cannot say that mistakes were made because the discrimination against Marlor
manifested when they denied him housing. Then, performing the set-aside test again to recertify
him for a non-accessible studio apartment, recertifying him established a higher rent amount and
aliege he would not qualify for transfers, and if he tried to file discrimination charges, they could
readily take the position he made too much money. Marlor called the local HUD office and left
several messages but a call center in Utah would call him back and they informed him to call the

same number to the Seattle, WA office. After the specialist answered his call several times, she said

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she would email someone that might be able to help and informed him that the Boise HUD does not
return any calls or answers the phone. Marlor did receive a call back and the specialist and himself
looked at his income and came to the same conclusion, Marlor did not make too much money and
therefore he qualified for both the original one-bedroom and the accessible one-bedroom. THC did
not place him on the list for Logan, and if the list existed, it did not represent the accessible one-
bedroom, unit 504, that was available until April 2022. The discrimination continued as Marlor’s
efforts to transfer for the next three years never came to fruition for various reasons. Even though
regional managers approved of Marlor’s transfers, and he complied with their requests by emailing
them text and email communication; not once did they respond. THC application states the

following:

NON-DISCRIMINATION: The management agent shall comply with all federal, state and
local fair housing and civil rights laws and with all equal opportunity requirements as
required by law, including without limitation HUD administrative procedures. Federal
laws forbid discrimination based on race, color, creed, religion, sex, age, disability,
familial status, or national origin. Discrimination against a particular social or economic
class is also prohibited {for example: welfare recipients; single parent households, etc.)
These requirements apply to all aspects of tenant relations including without limitation:
accepting and processing applications, selecting residents from among eligible
Applicants on the walting list, assigning units, certifying and re-certifying eligibility for
assistance, granting accommodation and terminating tenancies

The Idaho Human Rights Commission (IHRC) reviewed Marlor’s complaints Against THC and found
that no violations of discrimination had occurred; Marlor believes the IHRC found several violations.
They start off quoting THC’s response to Marlor’s complaint, “There are a finite and limited number
of low-income apartments available in the complex, as well as a finite and limited number of
accessible dwelling units that are also low income.” Problem with THC and the IHRC using this
statement, even though it may be true, that there was no need to recertify him and give hima
higher base rent and take away his original accessible one-bedroom; thus, making him ineligible and
easier for them to deny him future transfers. Further and more damning, they say no apartments
were available, when 504 was available until April 2022, and Marlor was on the waiting list for a
one-bedroom. in addition, when he was told he lost his original qualifying one-bedroom and rent
amount, the construction on the Logan was not completed; there was no waiting list. The IHRC
changes Marlor’s timeline to say that he was denied a transfer to 504 because his transfer was not

processed, and THC had already rented It out. Another example of turning a blind eye on Marler’s

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complaint and then changing his dialog in their denial letter to assimilate no discrimination: in the
end omitting severai acts. Marlor supplied a long list of codes, laws, and regulations THC’s agents
violated and IHRC states that none were provided: even listing each of THC’s answers to his

complaint, and in detail, negating their answers by providing proof or making them impiausible.

After idaho Human Rights Commission found no evidence of discrimination, THC’s onsite manager
said that the Logan was implementing a new lock system for the front door and would not purchase
fobs. From August 2024 to March 2025 Marlor was issued two keys and that was after waiting
months and asking several times. Finally, after Marlor asked Emma, the fourth onsite manager,
about getting a key, she said Michael had ordered some and was issued two new keys. in December
2024 Marlor turned in a request for accommodation for an accessible one-bedroom and it had been
signed by his primary physician and stated Marlor is disabled and needed accommodations. The
request included the need to be supplied with how many people were on the waiting fist and where
he was on the list. Marlor received an email from the seventh regional manager, and she informed
him that he would be getting communication on his accommedation request and in fact she was
moving into the position of ADA compliance officer. February 2025 Marlor received an email from
Rossanna regarding signing some paperwork and she informed him that he now qualified for the
fully accessible one-bedrcom. Not long after he received an email from the ADA compliance officer
stating there would be a rent increase with his accommodating one-bedroom; rent would go up to
$765 because of the extra amenities and square footage. Marior moved into the one-bedroom and
noticed there were no grab bars by the toilet and the roll-in shower’s grab bars are focated on the
opposite side of the of the shower and cannot be utilized in conjunction with the folding bench,
However, the washer and dryer are not stacked and fs accessible; as is the microwave, the kitchen
sink, the door’s peephole, the fridge, and all the doors are wider and allow for easy access.
Apartment 407 is the same apartment he was denied because THC contends; Marler’s income put
him in the 50% to 60% and therefore was ineligible. The person that moved to a different apartment
so Marlor could transfer was not disabled. In fact, before she moved into 407 it was vacant for

several months.

THC’s onsite managers, regional managers, assets managers, program coordinators, architects, and
owners are all liable; albeit, some more and some less. They are responsible for discriminating

against Marlor’s disabilities from the start of the Logan application process in September 2021 and

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585 continue well into 2025. As a third party and the power to intervene, not only to end the 2
586 discrimination, but hold THC accountabie; not only for Marlor, but ail the disabled individuals THC
587 manages. Therefore, HUD, Intermountain Fair Housing Council, Idaho Human Rights Commission, |
588 and Idaho Legal Aid are disability rights advocating agencies and instead of intervening and

589 representing Marlor and holding THC accountable; they found no discrimination by THC and denied

590 him assistance and exacerbated the discrimination.

591

592 Regulations Violated:

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594 1. Apperson is directly liable for:

595 A. The person's own conduct that results in a discriminatory housing practice.

596 B. Failing to take prompt action to correct and end a discriminatory housing practice by
597 that person's employee or agent, where the person knew or should have known of the
598 discriminatory conduct.

599 C. Failing to take prompt action to correct and end a discriminatory housing practice by a
600 third-party, where the person knew or should have known of the discriminatory

601 conduct and had the power to correct it. The power to take prompt action to correct
602 and end a discriminatory housing practice by a third party depends upon the extent of
603 the person's control or any other legal responsibility the person may have with respect
604 to the conduct of such third-party. 24 CFR 100.7(a}(41)(i), 24 CFR 100.7(a)(1) 24 CFR
605 100.7(a)(1)(i), 24 CFR 100.7{a)(1){ii), 24 CFR 100.7(a){1)(iii)

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607 2. Vicarious liability. A person is vicariously Hable for a discriminatory housing practice by the

608 person's agent or employee, regardiess of whether the person knew or should have known of
609 the conduct that resulted in a discriminatary housing practice, consistent with agency law,

610 24 CFR 100.7(a)(b)

611 3. Deny a qualified individual with handicaps the opportunity to participate in, or benefit from, the
612 housing, aid, benefit, or service; 24 CFR 8.4(b)({1)(i)

613 4. Afford a qualified individual with handicaps an opportunity to participate in, or benefit from, the
614 housing, aid, benefit, or service that is not equal to that afforded to others; 24 CFR 8.4(b)(1}{ii)

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Provide a qualified individual with handicaps with any housing, aid, benefit, or service that is not
as effective in affording the individual an equal opportunity to obtain the same result, to gain
the same benefit, or to reach the same level of achievement as that provided to others.
24 CFR 8.4{b}(1) (iil)
Provide different or separate housing, aid, benefits, or services to individuals with handicaps or
to any class of individuals with handicaps from that provided to others unless such action is
necessary to provide qualified individuals with handicaps with housing, aid, benefits, or services
that are as effective as those provided to others.
24 CFR 8.4(b)(1}{iv)
Aid or perpetuate discrimination against a qualified individual with handicaps by providing
significant assistance to an agency, organization, or person that discriminates on the basis of
handicap in providing any housing, aid, benefit, or service to beneficiaries in the recipient's
federaily assisted program or activity; 24 CFR 8.4(b)(1}{v)
Deny a dwelling to an otherwise qualified buyer or renter because of a handicap of that buyer or
renter or a person residing in or intending and eligible to reside in that dwelling after it is sold,
rented or made available; 24 CFR 8.4(b}{1}{vii)
Otherwise limit a qualified individual with handicaps in the enjoyment of any right, privilege,
advantage, or opportunity enjoyed by other qualified individuals receiving the housing, aid,
benefit, or service. 24 CFR 8.4(b)(1)(viii)
New multifamily housing projects (including public housing and Indian housing projects as
required by § 8.25) shall be designed and constructed to be readily accessible to and usable by
individuals with handicaps, 24 CFR 8.22(a}
Owners and managers of multifamily housing projects having accessible units shall adopt
suitable means to assure that information regarding the availability of accessible units reaches
eligible individuals with handicaps, and shall take reasonable nondiscriminatory steps to
maximize the utilization of such units by eligible individuals whose disability requires the
accessibility features of the particular unit, To this end, when an accessible unit becomes vacant,
the owner or manager before offering such units to a non-handicapped applicant shall offer
such unit: 24 CFR 8.27{a)

1- First, to a current occupant of another unit of the same project, or comparable projects

under common control, having handicaps requiring the accessibility features of the

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vacant unit and occupying a unit not having such features, or, if no such occupant exists,
then 24 CFR 8.27 (1)
2- Second, to an eligible qualified applicant on the waiting list having a handicap requiring
the accessibility features of the vacant unit. 24 CFR 8.27 (2)
Refuse to sell or rent a dwelling after a bona fide offer has been made, or to refuse to negotiate
for the sale or rental of a dwelling because of race, color, religion, sex, familial status, or national
origin, or to discriminate in the sale or rental of a dwelling because of handicap.
24 CFR 100.50(b}{1)
Discriminate in the terms, conditions or privileges of sale or rental of a dwelling, or in the
provision of services or facilities in connection with sales or rentals, because of race, color,
religion, sex, handicap, familial status, or national origin. 24 CFR 100.50(b}{2)
Engage in any conduct relating to the provision of housing which otherwise makes unavailable
or denies dwellings to persons because of race, color, religion, sex, handicap, familial status, or
national origin. 24 CFR 100.50({b}{3)
Make, print or publish, or cause to be made, printed or published, any notice, statement or
advertisement with respect to the sale or rental of a dwelling that indicates any preference,
limitation or discrimination because of race, color, religion, sex, handicap, familial status, or
national origin, or an intention to make any such preference, limitation or discrimination.
24 CFR 100.50(b}(4)
Represent to any person because of race, color, religion, sex, handicap, familial status, or
national origin that a dwelling is not available for sale or rental when such dwelling is in fact
available. 24 CFR 100.50(b){5)
It shall be unlawful for a person to refuse to sell or rent a dwelling to a person who has made a
bona fide offer, because of race, color, religion, sex, familial status, or national origin or to
refuse to negotiate with a person for the sale or rental of a dwelling because of race, color,
religion, sex, familial status, or national origin, or to discriminate against any person in the sale
or rental of a dwelling because of handicap. 24 CFR 100.60 (a)
1- Failing to accept or consider a bona fide offer because of race, color, religion, sex,
handicap, familial status, or national origin. 24 CFR 100.60(b}(1}
2- Refusing to sell or rent a dwelling to, or to negotiate for the sale or rental of a dwelling
with, any person because of race, color, religion, sex, handicap, famitial status, or

national origin. 24 CFR 100.60(b)(2)

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678 3- imposing different sales prices or rental charges for the sale or rental of a dwelling upon
679 any person because of race, color, religion, sex, handicap, familial status, or national
680 origin. 24 CFR 100.60(b}(3)
681 4- Using different qualification criteria or applications, or sale or rental standards or
682 procedures, such as income standards, application requirements, application fees, credit
683 analysis or sale or rental approval procedures or other requirements, because of race,
684 color, religion, sex, handicap, familial status, or national origin. 24 CFR 100.60(b){4)
685 5- Conditioning the availability of a dwelling, including the price, qualification criteria, or
686 standards or procedures for securing the dwelling, on a person's response to
687 harassment because of race, color, religion, sex, handicap, familial status, or national
688 origin. 24 CFR 100.60(b}{6}
689 18. It shail be unlawful, because of race, color, religion, sex, handicap, familial status, or national
690 origin, to impose different terms, conditions or privileges relating to the sale or rental of a
691 dwelling or to deny or limit services or facilities in connection with the sale or rental of a
692 dwelling. 24 CFR 100.65{a) !
693 19. Failing to process an offer for the sale or rental of a dwelling or to communicate an offer
694 accurately because of race, color, religion, sex, handicap, familial status, or national origin.
695 24 CFR 160.65(b)(3)
696 20. Limiting the use of privileges, services or facilities associated with a dwelling because of race,
697 color, religion, sex, handicap, familial status, or national origin of an owner, tenant or a person
698 associated with him or her. 24 CFR 100.65({b}(4}
699 21. It shall be unlawful, because of race, color, religion, sex, handicap, familial status, or national
700 origin, to provide inaccurate or untrue information about the availability of dwellings for sale or
701 rental, 24 CFR 100.80(a)
702 22. Indicating through words or conduct that a dwelling which is available for inspection, sale, or
703 rental has been sold or rented, because of race, color, religion, sex, handicap, familial status, or
704 national origin, 24 CFR 100,80(b)(1)
705 23. it shall be unlawful to discriminate in the sale or rental, or to otherwise make unavailable or
706 deny, a dwelling to any buyer or renter because of a handicap of-
707 1- That buyer or renter; 24 CFR 100.202(a)(1)
708 2- Aperson residing in or intending to reside in that dwelling after it is sold, rented, or
709 made available; or 24 CFR 100.202(a}(2)}
710 3- Any person associated with that person. 24 CFR 100.202(a}{3)

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711 24. |t shall be unlawful to discriminate against any person in the terms, conditions, or privileges of
712 the sale or rental of a dwelling, or in the provision of services or facilities in connection with
713 such dwelling, because of a handicap of—That buyer or renter; 24 CFR 100.202(b)(1)

714 25. A person residing in or intending to reside in that dwelling after it is sold, rented, or made

715 available; or Any person associated with that person. 24 CFR 100.202(b)(2)(3)

716 26. It shall be unlawful for any person to refuse to make reasonable accornmodations in rules,

717 policies, practices, or services, when such accommodations may be necessary to afford a

718 handicapped person equal opportunity to use and enjoy a dwelling unit, including public and
719 common use areas. 24 CFR 100.204{a)

720 27. Covered multifamily dweilings for first occupancy after March 13, 1991 shall be designed and
721 constructed to have at least one building entrance on an accessible route unless it is impractical
722 to do so because of the terrain or unusual characteristics of the site. 24 CFR 100,205 (a)

723 28. All covered multifamily dwellings for first occupancy after March 13, 1991 with a building

724 entrance on an accessible route shall be designed and constructed in such a manner that—

725 1- The public and common use areas are readily accessible to and usable by handicapped
726 persons; 24 CFR 100.205 (c)(1)

727 2- All the doors designed to allow passage into and within all premises are sufficiently wide
728 to allow passage by handicapped persons in wheelchairs; and 4 CFR 100.205 (c)(2)

729 -  Anaccessible route into and through the covered dwelling unit;

730 A CFR 100.205 (c)(2}{ii)

731 - Usable kitchens and bathrooms such that an individual in a wheelchair can

732 maneuver about the space. 4 CFR 100.205 (c)(2){iv}

733

734 29. Quid pro quo harassment. Quid pro quo harassment refers to an unwelcome request or

735 demand to engage in conduct where submission to the request or demand, either explicitly or
736 implicitly, is made a condition related to: The sale, rental or availability of a dwelling; the terms,
737 conditions, or privileges of the sale or rental, or the provision of services or facilities in

738 connection therewith; or the availability, terms, or conditions of a residential real estate-related
739 transaction. An unwelcome request or demand may constitute quid pro quo harassment even if
740 a person acquiesces in the unwelcome request or demand. 24 CFR 100,600 (a}{1)

744 30. Hostile environment harassment. Hostie environment harassment refers to unwelcome

742 conduct that fs sufficiently severe or pervasive as to interfere with: The availability, sale, rental,

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or use or enjoyment of a dwelling; the terms, conditions, or privileges of the sale or rental, or
the provision or enjoyment of services or facilities in connection therewith; or the availability,
terms, or conditions of a residential real estate-related transaction. Hostile environment
harassment does not require a change in the economic benefits, terms, or conditions of the
dwelling or housing-related services or facilities, or of the residential real-estate transaction.

24 CFR 100.600 (a)(2)

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